                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT GREENEVILLE

 UNITED STATES OF AMERICA,                            )
           Respondent,                                )
                                                      )
 v.                                                   )       No. 2:13-CR-34(04)
                                                      )
                                                      )
 RACHEL MICHELLE WILCOX,                              )
           Petitioner.                                )

                                MEMORANDUM AND ORDER

        This criminal case is before the Court on the defendant’s motion for a reduction of

 sentence, [Doc. 637]. The defendant requests a reduction in sentence pursuant to 18 U.S.C. §

 3582(c)(2) and USSG § 1B1.10 as amended by Amendments 780 and 782 to the United States

 Sentencing Guidelines. The United States has responded and acknowledges the defendant is

 eligible for a reduction in sentence but defers to the Court’s discretion whether and to what extent

 to reduce defendant’s sentence, [Doc. 652]. The motion will be GRANTED.

        The defendant was convicted of participating in a conspiracy to distribute oxycodone in

 violation of 21 U.S.C. §§ 846 and 841(b)(1)(C). She was held accountable for 57000 milligrams

 of oxycodone, resulting in a base offense level of 26. The base offense level was increased by

 two levels for maintaining a dwelling for the purpose of manufacturing or distributing a controlled

 substance and decreased by three levels pursuant to USSG § 3E1.1(a) & (b) (acceptance of

 responsibility), resulting in a total offense level of 25. The defendant’s criminal history category

 was IV, resulting in an advisory guidelines range of 84 months to 105 months. The United States

 filed a motion for downward departure pursuant to USSG § 5K1.1, which the Court granted and

 ultimately sentenced the defendant to 66 months’ imprisonment.




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        “Federal courts are forbidden, as a general matter, to modify a term of imprisonment once

 it has been imposed, but the rule of finality is subject to a few narrow exceptions.” Freeman v.

 United States, 131 S. Ct. 2685, 2690 (2011) (internal citation and quotation marks omitted). Title

 18 United States Code § 3582(c)(2), however, gives a district court authority to modify a term of

 imprisonment that has been imposed on a defendant “who has been sentenced to a term of

 imprisonment based on a sentencing range that has been subsequently lowered by the Sentencing

 Commission,” 18 U.S.C. § 3582(c), through a retroactively applicable amendment such as

 Amendment 782. Id.; USSG § 1B1.10. The Court may reduce the term, “after considering the

 factors set forth in § 3553(a) to the extent they are applicable, if such a reduction is consistent

 with applicable policy statements issued by the Sentencing Commission.”               18 U.S.C. §

 3582(c)(2).    Section 1B1.10 identifies the guideline amendments that may be applied

 retroactively, and sets out the factors for deciding a sentence reduction motion under § 3582(c).

 The Supreme Court has made clear that § 3582 does not require a sentencing or resentencing

 proceeding, but gives courts the power to reduce an otherwise final sentence under circumstances

 established by the Sentencing Commission. Dillon v. United States, 560 U.S. 817 (2010); United

 States v. Curry, 606 F.3d 323, 330 (6th Cir. 2010); USSG § 1B1.10, cmt. background (noting that

 a reduction under § 1B1.10 is discretionary and “does not entitle a defendant to a reduced term of

 imprisonment as a matter of right”).

        Section 3582(c)(2) establishes a two-step inquiry: First, the court must determine whether

 the defendant is eligible for a sentence reduction. If he is, the court must then consider whether,

 in its discretion, the authorized reduction is warranted in whole or in part under the circumstances.

 Dillon, 130 S. Ct. at 2691-92; United States v. Greenwood, 521 Fed. App’x 544, 547 (6th Cir.

 2013). In exercising its discretion, the court is required to consider public safety factors and is



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 permitted to consider post-sentencing conduct in deciding whether a reduction in the defendant’s

 term of imprisonment is warranted. USSG § 1B1.10, cmt. (n. 1(B)(ii)-(iii)). Thus, the district

 court is required to consider both the § 3553(a) factors and “the nature and seriousness of the

 danger to any person or the community that may be posed by a reduction in defendant’s term of

 imprisonment.” Curry, 606 F.3d at 330 (quoting USSG § 1B1.10, cmt. n. 1(B)(ii)).

        One other factor is relevant to the instant motion. Ordinarily, a defendant’s sentence may

 not be reduced to a term “less than the minimum of the amended guideline range.” USSG §

 1B1.10(b)(2)(A).   But where, as here, the defendant previously received a below-guideline

 sentence “pursuant to a government motion to reflect the defendant’s substantial assistance to

 authorities,” the Court has authority to grant a reduction “comparably less than the amended

 guideline range.” USSG § 1B1.10(b)(2)(B). It is perfectly logical that the extent of the reduction

 should be determined based on the extent of assistance. At the time of her sentencing, the

 defendant received a 21-percent reduction from the bottom of her guidelines range for her

 substantial assistance to the government.

        Applying Amendment 782 lowers the defendant’s base offense level from 26 to 24. With

 the appropriate increase for maintaining a dwelling and decrease for acceptance of responsibility,

 the defendant’s amended total offense level becomes 23. A total offense level of 23 combined

 with a criminal history of IV results in an amended guidelines range of 70 to 87 months. The

 defendant requests a reduced sentence of 52 months but does not explain how this requested

 sentence was calculated. The government acknowledges that the defendant is eligible to receive a

 sentence as low as 55 months, 21-percent below the bottom of her amended guideline range of 70

 to 87 months. The Court agrees with the government’s calculation of the defendant’s substantial




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 assistance reduction from the amended guideline range. Therefore, the defendant’s motion, [Doc.

 637], is GRANTED, and her sentence will be reduced to a term of 55 months.

        ENTER:



                                                                    s/J. RONNIE GREER
                                                              UNITED STATES DISTRICT JUDGE




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